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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                               Chapter 11

 GULF COAST HEALTH CARE, LLC, et al.,                 Case No. 21-11336 (KBO)

                          Debtors.                    (Jointly Administered)


 BELFOR USA GROUP, INC.,

                          Plaintiff,                  Adv. Proc. No. 22-50355 (KBO)
           v.

 GULF COAST HEALTH CARE, LLC,                         Re: Adv. Docket No. 4
 NF GLEN COVE, LLC d/b/a GLENCOVE
 HEALTH AND REHABILITATION CENTER,

                          Defendants.


    DEFENDANTS’ MOTION TO DISMISS AMENDED ADVERSARY COMPLAINT

          Pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure, as made

applicable to this proceeding by Rule 7012 of the Federal Rules of Bankruptcy Procedure, Anthony

M. Saccullo of Saccullo Business Consulting, LLC, solely in his capacity as the Litigation

Claimants Trustee of the Litigation Claimants Trust (the “Trustee”), as successor-in-interest to the

above-captioned Defendants hereby moves for an order, in substantially the form attached hereto,

dismissing the Amended Complaint for Imposition of Constructive Trust and for an Accounting

against Defendants (Adv. Docket No. 4) with prejudice for failure to state claims upon which relief

can be granted. The grounds for this motion are explained in the accompanying Opening Brief in

Support of Defendants’ Motion to Dismiss for Failure to State a Claim Pursuant to Federal Rule

of Civil Procedure 12(B)(6) and Federal Rule of Bankruptcy Procedure 7012, filed concurrently

herewith. Pursuant to Bankruptcy Rule 7012 and Local Rule 7012-1, the Trustee consents to entry



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of a final order and judgment by the Bankruptcy Court.


 Dated: September 21, 2022                   Respectfully submitted,
        Wilmington, Delaware
                                             /s/ R. Stephen McNeill
                                             Christopher M. Samis (No. 4909)
                                             R. Stephen McNeill (No. 5210)
                                             Andrew L. Brown (No. 6766)
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                                             Counsel to the Defendants




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